Case 2:O4-cv-O2924-tmp Document 14 Filed 06/20/05 Page 1 of 2 Page|D 22

  
  

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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DIsTRIcT oF TENNESSEE 55 mir-§ 20 954 ?: 53
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JU'DY WOODRUFF,
Plaintiff,

vs. Civ. No. 04-2924-?

UNITED STATES OF AMERICA,

Defendant.

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ORDER SETTING TRIAL

 

The parties have consented to proceed before the magistrate

judge. Therefore, the Court has set the following dates:

l. The final pre-trial order shall be filedr with a
courtesy copy delivered to chambers, by Friday, January
13, 2006.

2. The pre-trial conference is set for Friday, January 20,

2006 at 10:00 a.m.

 

3. Non-Jury trial is set for Tuesday, January 31, 2006 at
09:30 a.m.
IT IS SO ORDERED. ;;%;§ZEQDVLN`_“
TU M. PHAM

United States Magistrate Judge

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Date

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This notice confirms a copy of the document docketed as number 14 in
case 2:04-CV-02924 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

 

 

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Honorable Tu Pham
US DISTRICT COURT

